 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 1 of 19 PageID #:11989




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: CHICAGO BOARD OPTIONS                        1:18-cv-04171
 EXCHANGE VOLATILITY INDEX                           MDL No. 2842
 MANIPULATION ANTITRUST LITIGATION

 and

 LJM PARTNERS, LTD.,                                 No. 19 CV 0368
       Plaintiff,                                    MDL No. 2842

 v.                                                  and

 JOHN DOES,
       Defendants

 and

 TWO ROADS SHARED TRUST,                             No. 20 CV 00831
      Plaintiff,
                                                     Honorable Manish S. Shah
 JOHN DOES,
       Defendants.

 This Document Relates to All Actions



                       AGREED CONFIDENTIALITY ORDER
               IN RESPECT TO JOHN DOE DISCOVERY INFORMATION

       The Parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

       1.      Definitions.

       (a)     “Action” means the above-captioned action, and any and all cases consolidated or

coordinated with it.
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 2 of 19 PageID #:11990




       (b)     “Discoverable Information” means all materials produced by Cboe Global Markets,

Inc., Cboe Futures Exchange, LLC, and Cboe Exchange, Inc. (“Cboe”) in connection with or

response to Plaintiffs’ Motion for early discovery (Dkt. 294).

       (c)     “Document” is synonymous in meaning and equal in scope to the usage of this term

in Federal Rule of Civil Procedure 34(a)(l)(A).

       (d)     “ESI” shall have the same meaning and scope as it has in Federal Rule of Civil

Procedure 34(a)(1)(A).

       (e)     “Party” means a Party to this Action only that has executed this Stipulation.

       (f)     “Producing Party” means Cboe.

       (g)     “Putative Class Action” means the consolidated class action plaintiffs in the Multi

District Litigation number 2842.

       (h)     “Receiving Party” means Counsel for LJM Partners, Ltd. (“LJM”) and/or Two

Roads Shared Trust (“Two Roads”) in this Action. References to “Plaintiffs” herein are limited to

Counsel for these Plaintiffs.

       2.      Scope. Discoverable Information shall be subject to this Order concerning

Confidential Information as defined below. This Order is subject to the Local Rules of this

District and the Federal Rules of Civil Procedure on matters of procedure and calculation of time

periods.

       3.      Confidential Information. As used in this Order, “Confidential Information”

means all Discoverable Information. For the sake of clarity, this definition, however, does not

extend to any information that the Receiving Party has previously purchased from Cboe or may

purchase in the future, and the Parties agree that this Protective Order will not govern information
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 3 of 19 PageID #:11991




other than that produced by Cboe in connection with or in response to Plaintiffs’ Motion for Early

Discovery (Dkt. 294).

       4.      Designation.

       (a)     In order to designate all Discoverable Information as Confidential Information for

protection under this Order, Cboe shall place or affix the words “CBOE CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER” on the media used to produce or disclose the Discoverable

Information. As used in this Order, “copies” includes electronic images, duplicates, extracts,

summaries, or descriptions that contain the Confidential Information. The marking “CBOE

CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or at the

time the documents are produced or disclosed. Applying the marking “CBOE CONFIDENTIAL

– SUBJECT TO PROTECTIVE ORDER” to a document does not mean that the document has

any status or protection by statute or otherwise except to the extent and for the purposes of this

Order. Any copies that are made of any documents marked “CBOE CONFIDENTIAL – SUBJECT

TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic databases, or

lists of documents that do not contain substantial portions or images of the text of marked

documents and do not otherwise disclose the substance of the Confidential Information are not

required to be marked. Whenever the Receiving Party to whom electronically stored Discoverable

Information so designated is produced reduces such information to hard copy form, to the extent

such pages have not previously been marked by the Producing Party, such Receiving Party shall
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 4 of 19 PageID #:11992




mark the hard copy by affixing the designation “Cboe Confidential,” “Cboe Internal,” or “Cboe

Restricted” to each page of such document.

       (b)     The designation of a document as Confidential Information is a certification by an

attorney that the document contains Confidential Information as defined in this Order.

       5.      Protection of Confidential Material.

       (a)     General Protections. Confidential Information shall not be used or disclosed by

Counsel or any other persons identified in subparagraph (b) to this paragraph for any purpose

whatsoever other than in this litigation, including any appeal thereof. For clarity and without

limiting the foregoing, Confidential Information may not be disclosed to anyone who is a party or

counsel, or is affiliated with a party or counsel from the related putative class action, or may

reasonably be believed to be a potential class member in the putative class action.

       (b)     Limited Third-Party Disclosures. Cboe and Plaintiffs shall not disclose or permit

the disclosure of any Confidential Information to any third person or entity except as set forth in

subparagraphs (1)-(8) to this paragraph. Subject to these requirements, the following categories

of persons may be allowed to review Confidential Information:

       (1)     Plaintiffs’ Counsel. Counsel for the Plaintiffs and employees of Counsel who have
               responsibility for the Action;
       (2)     Defendants’ Counsel. Counsel for Defendants to the Actions and employees of
               Counsel who have responsibility for the Action, but only after such Counsel have
               executed a stipulation in substantially the same form as this Stipulation.
       (3)     The Court and its personnel. And any Court Reporters, videographers and their
               staff engaged for depositions, and mediators (and staff) appointed by the Parties to
               assist in alternative dispute resolution;
       (4)     Contractors. Those persons or entities who provide litigation support services
               (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations,
               and organizing, storing, or retrieving in any form or medium) and their employees
               and subcontractors;

       (5)     Consultants, Investigators, and Experts. Consultants, investigators, or experts
               employed by Counsel to assist in the preparation and trial of this action but only
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 5 of 19 PageID #:11993




               after such individual persons have completed the certification contained in
               Attachment A, Acknowledgment of Understanding and Agreement to Be Bound,
               have agreed to the data security provisions of Attachment B, and provided further
               that any part of a report created by such consultant, investigator or expert
               incorporating Confidential Information shall be designated appropriately by the
               Party responsible for its creation; and provided further that consultants,
               investigators or experts shall not use Confidential Information for any purpose that
               does not relate to this Action (including but not limited to other litigation and other
               work in their respective field);

       (6)     Insurers’ counsel. The counsel representing the insurer or indemnitor of Cboe or
               Plaintiffs, including the insurer’s or indemnitor’s legal team, provided such counsel
               signs Attachment A prior to any disclosure;

       (7)     Witnesses in this Action. Witnesses to whom disclosure is reasonably necessary
               during depositions or testimony at trial or any hearing, provided that Counsel for
               the Plaintiff intending to disclose the information has a good-faith basis for
               believing such Confidential Information is relevant to events, transactions,
               discussions, communications, or data about which the witness is expected to testify
               or about which the witness may have knowledge, provided that Plaintiffs instruct
               the witness and their counsel that the material is subject to this Protective Order,
               provide them with a copy of the same, and have them execute Attachment A.
               Witnesses shall not retain a copy of documents containing Confidential
               Information, except witnesses may review a copy of all exhibits marked at their
               depositions in connection with review of the transcripts; and

       (8)     Others by Consent. Other persons only by written consent of Cboe or upon
               order of the Court and on such conditions as may be agreed or ordered, in addition
               to those persons having signed Attachment A.

       (c)     Summaries. Counsel for Plaintiffs may provide summaries or characterizations of

the Confidential Information to individuals employed by the Plaintiffs, who have responsibility to

make decisions regarding the prosecution or settlement of the Action. Nothing in this Order is

intended to bar or otherwise prevent Plaintiffs’ counsel from rendering advice to their respective

clients with respect to this Action and, in the course of rendering such advice, from relying upon

their examination or knowledge of Confidential Information.

       (d)     Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel and any

third-parties to whom disclosure is permitted by this Order, with the exception of the Court and its
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 6 of 19 PageID #:11994




personnel, shall also implement the specific controls set forth in Attachment B to this Order. To

the extent that Confidential Information is ESI or is converted to ESI, it shall be stored and

transmitted only in fully encrypted form as set forth in the ESI Protocol. Counsel shall maintain

the originals of the forms signed by persons acknowledging their obligations under this Order for

a period of three years after the termination of the case. In the event that there is an unauthorized

disclosure of Confidential Information, Cboe will be provided with a list of those who have

executed Attachment B.

       6.      The recipient of any Confidential Information shall maintain such information in a

secure and safe area and shall exercise a standard of due and proper care with respect to the storage,

custody, use, and/or dissemination sufficient under all applicable laws, including by establishing,

maintaining, and enforcing written policies and procedures consistent with NIST Security and

Privacy Controls for Federal Information Systems and Organizations (Special Publication 800-53

Rev. 4) (“NIST 800-53”) or substantially similar security standards promulgated by another widely

recognized organization, to safeguard against unauthorized or inadvertent disclosure of such

material to persons or entities not authorized under this Order, and also agree to the requirements

for data security set forth in Attachment B. In addition, the recipient of Confidential Information

shall produce to Cboe a current SOC 2 Type 2 report demonstrating reasonable design and

operating effectiveness of recipient’s information security-related controls.           Confidential

Information shall not be copied, reproduced, extracted, or abstracted, except to the extent that such

copying, reproduction, extraction, or abstraction is reasonably necessary for the conduct of this

Action. All such copies, reproductions, extractions, and abstractions shall be subject to the terms

of this Order. The recipient of any original media shall notify Cboe once the data has been copied,
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 7 of 19 PageID #:11995




reproduced, extracted, or abstracted, and shall return the original data file to Cboe. Cboe will

maintain the produced data for the duration of the litigation.

       7.      Unauthorized Disclosure of Confidential Information. If Plaintiffs or any third-

party to whom disclosure is permitted by this Order learns that, by inadvertence or otherwise, they

have disclosed Confidential Information to any person or in any circumstance not authorized under

this Order, they must within one business day of learning of the disclosure take the following

actions: (a) notify Cboe in writing of the unauthorized disclosures; (b) use their best efforts to

retrieve all unauthorized copies of the Confidential Information; (c) inform the person or persons

to whom unauthorized disclosures were made of all the terms of this Order; and (d) request such

person or persons destroy the Confidential Information.

       8.      Filing of Confidential Information. Any Party wishing to file Confidential

Information must seek to file such information in redacted form or under seal in accordance with

the rules of this Court unless Cboe provides its written agreement that the Confidential Information

may be publicly filed. This Order does not, by itself, authorize the filing of any document under

seal. Any Party wishing to file a document designated as Confidential Information in connection

with a motion, brief or other submission to the Court must comply with LR 26.2.

       9.      Inadvertent Production of Privileged or Otherwise Protected Material. If

Cboe inadvertently or mistakenly produces privileged material, such production shall in no way

prejudice or otherwise constitute a waiver of, or estoppels as to any claim of privilege, work-

product immunity, protection pursuant to the joint defense or common interest doctrine, or any

other applicable privilege for the inadvertently produced document or any other document

covering the same or a similar subject matter under applicable law including Federal Rule of

Evidence 502. When Cboe gives notice to Plaintiffs that certain inadvertently produced material
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 8 of 19 PageID #:11996




is subject to a claim of privilege or other protection, the obligations of the Plaintiffs are those set

forth in Federal Rule of Civil Procedure 26(b)(5)(B). Pursuant to Federal Rule of Evidence 502(d)

and (e), insofar as Cboe and Plaintiffs reach an agreement on the effect of disclosure of a

communication or information covered by the attorney-client privilege or work product protection,

the Parties may incorporate their agreement in a stipulated protective order submitted to the court.

       10.     Challenges by a Party to Designation as Confidential Information.                  The

designation of any material or document as Confidential Information is subject to challenge by

Plaintiffs, and such challenge may be made at any time. The following procedure shall apply to

any such challenge.

       (a)     Meet and Confer. Plaintiffs must meet and confer directly with Counsel for Cboe

before challenging the designation of Confidential Information. In conferring, Plaintiffs must

explain the basis for their belief that the confidentiality designation was not proper and must give

Cboe an opportunity to review the designated material, to reconsider the designation, and, if no

change in designation is offered, to explain the basis for the designation. Cboe must respond to

the challenge within five (5) business days of the conferral.

       (b)     Judicial Intervention. If Plaintiffs elect to challenge a confidentiality designation

they may file and serve a motion that identifies the challenged material and sets forth in detail the

basis for the challenge. Each such motion must be accompanied by a competent declaration that

affirms that the movant has complied with the meet and confer requirements of this procedure.

The burden of persuasion in any such challenge proceeding shall be on the designating party. Until

the Court rules on the challenge, all parties shall continue to treat the materials as Confidential

Information under the terms of this Order.
  Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 9 of 19 PageID #:11997




            11.   Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a Party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

            12.   Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the use of any document, material, or information at any trial or hearing.

A party that intends to present or that anticipates that another party may present Confidential

Information at a hearing or trial shall bring that issue to the Court’s and Parties’ attention by motion

or in a pretrial memorandum without disclosing the Confidential Information. The Court may

thereafter make such orders as are necessary to govern the use of such documents or information

at trial.

            13.   Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

            (a)   If Plaintiffs are served with a subpoena or an order issued in other litigation that

would compel disclosure of any material or document designated in this action as Confidential

Information, they must so notify Cboe, in writing, within three (3) court days after receiving the

subpoena or order. Such notification must include a copy of the subpoena or court order.

            (b)   Plaintiffs also must inform in writing the Party who caused the subpoena or order

to issue in the other litigation that some or all of the material covered by the subpoena or order is

the subject of this Order and must deliver a copy of this Order promptly to the Party in the other

action that caused the subpoena to issue.

            (c)   The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford Cboe an opportunity to try to protect their Confidential
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 10 of 19 PageID #:11998




Information in the court from which the subpoena or order issued. Cboe shall bear the burden and

the expense of seeking protection in that court of their Confidential Information, and nothing in

these provisions should be construed as authorizing or encouraging a Plaintiffs in this action to

disobey a lawful directive from another court. The obligations set forth in this paragraph remain

in effect while Plaintiffs have Confidential Information in their possession, custody, or control.

       14.     Challenges by Members of the Public to Sealing Orders. A Party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the Party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

       15.     Obligations on Conclusion of Litigation.

       (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order shall

remain in force after dismissal or entry of final judgment not subject to further appeal.

       (b)     Obligations at Conclusion of Litigation. Within sixty-three (63) days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information and

documents marked “CBOE CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” under

this Order that have not already been returned pursuant to paragraph 6 above shall be returned to

Cboe or destroyed to the extent practicable (including, directing the Plaintiffs’ discovery vendor(s)

to take data offline or to take other steps to prevent access to the documents) in a manner that is

consistent with the highest industry standards (e.g., the DoD 5220.22-M data sanitization method,

in accordance with the Department of Defense National Industrial Security Program Operating

Manual), unless the document has been offered into evidence or filed without restriction as to

disclosure. With respect to Confidential Information stored in electronic form, the Receiving Party
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 11 of 19 PageID #:11999




shall apply physical or logical techniques that render data recovery infeasible using state of the art

laboratory techniques in conformity with the NIST SP 800-88 R1 Purge standard.

       (c)     Retention of Work Product and one set of Filed Documents.

       Notwithstanding the above requirements to return or destroy documents, Plaintiffs’

Counsel may retain (1) attorney work product, including an index that refers or relates to

designated Confidential Information so long as that work product does not duplicate verbatim

portions of Confidential Information, (2) email correspondence related to their representation, so

long as those correspondences do not duplicate verbatim portions of Confidential Information; and

(3) one complete set of all: (i) documents filed with the Court including those filed under seal; (ii)

all transcripts of depositions, including exhibits; and (iii) all final expert witness reports and

supporting materials disclosed pursuant to Rule 26 of the Federal Rules of Civil Procedure.

Counsel are not required to return or destroy Confidential Information that is stored on backup

storage media made in accordance with regular data backup procedures for disaster recovery

purposes; or (2) is located in the email archive system or archived electronic files of departed

employees so long as the archived emails or files do not duplicate verbatim portions of the

Confidential Information. Any retained Confidential Information shall continue to be protected

under this Order. An attorney may use his or her work product in subsequent litigation, provided

that its use does not disclose or use Confidential Information.

       (d)      Deletion of Documents filed under Seal from Electronic Case Filing (ECF)

System. Filings under seal shall be deleted from the ECF system only upon order of the Court.

       16.     Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a Party or any other person with standing concerning

the subject matter.
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 12 of 19 PageID #:12000




       17.      No Prior Judicial Determination.           This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

herein shall be construed or presented as a judicial determination that any document or material

designated Confidential Information by counsel or the parties is entitled to protection under Rule

26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule

on a specific document or issue.

       18.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

       19.      Miscellaneous.

       (a)      Right to Object. By stipulating to the entry of this Order, no Party waives any

right it otherwise would have to object to disclosing or producing any information or item on any

ground not addressed in this Order. Similarly, no Party waives any right to object on any ground

to use in evidence of any of the material covered by this Order.

       (b)      Additional Parties. In the event that a new Party is added, substituted, or otherwise

brought into this Action, this Order will be binding on and inure to the benefit of the new Party

once that new Party has executed the Acknowledgement and Agreement to be Bound, subject to

the right of the new Party to seek relief from or modification of this Order.

       So Ordered.

Dated: June 18, 2020




                                              U.S. District Judge
                                              Manish S. Shah
Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 13 of 19 PageID #:12001




WE SO MOVE                                   WE SO MOVE
and agree to abide by the                    and agree to abide by the
terms of this Order                          terms of this Order

s/ George Zelcs                              s/ Gregory M. Boyle
George Zelcs
                                             Reid J. Schar
Chad Bell
                                             Gregory M. Boyle
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Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 14 of 19 PageID #:12002



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Attorneys for Plaintiff Two Roads Shared Trust

Dated: June 17, 2020
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 15 of 19 PageID #:12003




                                        ATTACHMENT A

                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 IN RE: CHICAGO BOARD OPTIONS                           1:18-cv-04171
 EXCHANGE VOLATILITY INDEX                              MDL No. 2842
 MANIPULATION ANTITRUST LITIGATION

 and

 LJM PARTNERS, LTD.,                                    No. 19 CV 0368
       Plaintiff,                                       MDL No. 2842

 v.                                                     and

 JOHN DOES,
       Defendants

 and

 TWO ROADS SHARED TRUST,                                No. 20 CV 00831
      Plaintiff,
                                                        Honorable Manish S. Shah
 JOHN DOES,
       Defendants.

 This Document Relates to All Actions



              ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he/she has read the Confidentiality Order dated

____________________________ in the above-captioned action and attached hereto, as well as

the requirements for data security set forth in Attachment B, understands the terms thereof, and

agrees to be bound by all of these terms. The undersigned submits to the jurisdiction of the United

States District Court for the Northern District of Illinois in matters relating to the Confidentiality

Order and understands that the terms of the Confidentiality Order obligate him/her to use materials

designated as Confidential Information in accordance with the Order and in accordance with the
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 16 of 19 PageID #:12004




requirements for data security set forth in Attachment B, solely for the purposes of the above-

captioned action, and not to disclose any such Confidential Information to any other person, firm

or concern.

         The undersigned acknowledges that violation of the Confidentiality Order or the

requirements for data security set forth in Attachment B may result in penalties for contempt of

court.

 Name:

 Job Title:

 Employer:

 Business Address:




Date:
                                                    Signature
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 17 of 19 PageID #:12005




                                      ATTACHMENT B

                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


 IN RE: CHICAGO BOARD OPTIONS                         1:18-cv-04171
 EXCHANGE VOLATILITY INDEX                            MDL No. 2842
 MANIPULATION ANTITRUST LITIGATION

 and

 LJM PARTNERS, LTD.,                                  No. 19 CV 0368
       Plaintiff,                                     MDL No. 2842

 v.                                                   and

 JOHN DOES,
       Defendants

 and

 TWO ROADS SHARED TRUST,                              No. 20 CV 00831
      Plaintiff,
                                                      Honorable Manish S. Shah
 JOHN DOES,
       Defendants.

 This Document Relates to All Actions


       AGREEMENT TO BE BOUND BY CERTAIN PROTOCOLS GOVERNING ESI

       The undersigned hereby acknowledge that in handling any Discoverable Information,

they will maintain and enforce written policies and procedures consistent with NIST Security

and Privacy Controls for Federal Information Systems and Organizations (Special Publication

800-53 Rev. 4) or substantially similar security standards promulgated by another widely

recognized organization. In addition, any receiving party who will host Discoverable

Information must provide to Cboe a current SOC 2 Type 2 report demonstrating reasonable

design and operating effectiveness of recipient’s information security related controls. The
 Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 18 of 19 PageID #:12006




receiving party shall also satisfy the following Compliance Checklist demonstrating adequate

security control:

1) Security: Information and systems are protected against unauthorized access, unauthorized

   disclosure, and damage to the system that could compromise the information or systems and

   effect the entity’s ability to meet its security obligations. Security includes the protection of:

   a) Discoverable Information

   b) Systems that are used to analyze, host, store, extract, or otherwise contain Discoverable

       Information;

2) Availability: The system includes controls to support accessibility for operation, monitoring,

   and maintenance;

3) Processing Integrity: The system’s ability to process data is complete, valid, accurate, timely,

   and able to meet and comply with the objectives set forth above;

4) Confidentiality: Information that is designated as Confidential Information, as set out in the

   protective order above, will be protected and designated as such by the system used;

5) Privacy: To the extent that personal information is collected, used, and revealed, the host will

   limit the use of such data to the terms set forth above; and

6) Purge: At the conclusion of the use of all data, the system is capable of applying physical or

   logical techniques that render recovery of the data infeasible using state of the art laboratory

   techniques in conformity with NIST SP 800-88 R1 Purge standard.

7) The undersigned acknowledges that violation of the Confidentiality Order or the requirements

   for data security set forth in Attachment B may result in penalties for contempt of court.

 Name:

 Job Title:
Case: 1:18-cv-04171 Document #: 329 Filed: 06/18/20 Page 19 of 19 PageID #:12007




Employer:

Business Address:




  Date:
                                                 Signature
